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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X                 1/7/2021
STATE OF NEW YORK, STATE OF CALIFORNIA,                                :
STATE OF ILLINOIS, STATE OF MARYLAND,                                  :
STATE OF MINNESOTA, RURAL & MIGRANT                                    :   20-cv-10642 & 20-cv-10645
MINISTRY, ALIANZA NACIONAL DE                                          :            ORDER
CAMPESINAS, EL COMITE DE APOYO A LOS                                   :
TRABAJADORES AGRICOLAS, FARMWORKER                                     :
ASSOCIATION OF FLORIDA, MIGRANT                                        :
CLINICANS NETWORK, PINEROS Y CAMPESINOS :
UNIDOS DEL NOROESTE, RURAL COALITION,                                  :
UNITED FARM WORKERS, UNITED FARM                                       :
WORKERS FOUNDATION,                                                    :
                                           Plaintiffs,                 :
                  -v-                                                  :
                                                                       :
UNITED STATES ENVIRONMENTAL PROTECTION :
AGENCY and Andrew Wheeler, in his official capacity :
as Administrator of the United States Environmental                    :
Protection Agency,                                                     :
                                                                       :
                                                                       :
                                          Defendants.                  :
                                                                       :
---------------------------------------------------------------------- X

LEWIS J. LIMAN, United States District Judge:

        The above-captioned cases involve common questions of law and fact. For convenience,
expedition, and judicial economy, and noting that no party has objected despite the opportunity
to do so, the Court exercises its discretion to consolidate these cases into a single action. See
Federal Rule of Civil Procedure 42(a)(2).

       The Clerk of Court is directed to consolidate all cases listed above under case number
20-cv-10642, and to close all other cases. Counsel are directed to make filings only under
case number 20-cv-10642.


        SO ORDERED.


Dated: January 7, 2021                                     __________________________________
       New York, New York                                             LEWIS J. LIMAN
                                                                  United States District Judge
